                  Case 2:08-cr-00332-JCM-GWF                      Document 476                 Filed 03/13/13         Page 1 of 7
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                  __________ District of                               Nevada    AMENDED
                                                      )
             UNITED STATES OF AMERICA                 )                              JUDGMENT IN A CRIMINAL CASE
                        v.                            )
              ANJALI YASMIN AURORA                    )
                                                                                     Case Number:           2:08-CR-0332-JCM-GWF
                                                      )
                                                      )                              USM Number:            61617-019
                                                      )
                                                      )                              ADAM GILL for BRET O' WHIPPLE
                                                                                     Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        TEN [10] OF THE 2ND SUPERSEDING INDICTM ENT

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended             Count
18 U.S.C.§371                    Conspiracy (to commit Identity theft; Bank Fraud; make, utter,               5/2009                  Ten [10]
                                 and pass counterfeit securities; and Aggravated Identity theft;
                                 Aiding and Abetting.




       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
X Count(s)       Superseding Indictment and                G is      X are dismissed on the motion of the United States.
                 Remaining counts in second superseding Indictment
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          FEBRUARY 16, 2011
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                          JAMES C. MAHAN, U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                           March
                                                                            March413, 2013
                                                                          FEBRUARY                           , 2011
                                                                          Date
                Case 2:08-cr-00332-JCM-GWF
             Amended                                              Document 476             Filed 03/13/13           Page 2 of 7
AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                                                           Judgment—Page      2     of         5
DEFENDANT:                    ANJALI YASMIN AURORA
CASE NUMBER:                  2:08-CR-0332-JCM-GW F
                                                                   PROBATION

The defendant is hereby sentenced to probation for a term of :


                                                         (5) YEARS


The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

G
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

G
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
            Case 2:08-cr-00332-JCM-GWF
          Amended                                        Document 476          Filed 03/13/13        Page 3 of 7
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 4C — Probation
                                                                                            Judgment—Page     3    of      5
DEFENDANT:                ANJALI YASMIN AURORA
CASE NUMBER:              2:08-CR-0332-JCM-GWF
                                        SPECIAL CONDITIONS OF SUPERVISION

1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

2. W arrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
control to a search conducted by the United States Probation Officer or any authorized person under the immediate and
personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be grounds
for revocation; the defendant shall inform any other occupant that the premises may be subject to a search pursuant to this
condition.

3. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.

4. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.

5. Deportation Compliance - If deported, you shall not reenter the United States without legal authorization.

6. Home Confinement with Location Monitoring - You shall be confined to home confinement with location monitoring,
if available, for a period of _6_months. You shall pay 100% of the costs of electronic monitoring services.

7. Report to Probation Officer After Release From Custody - You shall report in person, to
the probation office in the district in which you are released within 72 hours of discharge from custody.


Note: A written statement of the conditions of release was provided to the Defendant by the Probation
Officer in open court at the time of sentencing.
             Case 2:08-cr-00332-JCM-GWF
          Amended                                                        Document 476              Filed 03/13/13       Page 4 of 7
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                           Judgment — Page 4        of       5
DEFENDANT:                         ANJALI YASMIN AURORA
CASE NUMBER:                       2:08-CR-0332-JCM-GW F
                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                            Fine                                 Restitution
TOTALS             $ 100.00                                                $ WAIVED                            $ 1,430,396.91


G    The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                             Restitution Ordered                 Priority or Percentage
Bank of America                                     $1,430,396.91                                $1,430,396.91
Attn: Corporate Investigations
P.O. Box 98600
Las Vegas, NV 89193




TOTALS                               $                    1,430,396.91           $                 1,430,396.91


x     Restitution amount ordered pursuant to plea agreement $                1,430,396.91
G

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the                G fine     G      restitution.

      G the interest requirement for the              G    fine    G     restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
              Case 2:08-cr-00332-JCM-GWF
           Amended                                                 Document 476              Filed 03/13/13            Page 5 of 7
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                             Judgment — Page      5      of          5
DEFENDANT:                  ANJALI YASMIN AURORA
CASE NUMBER:                2:08-CR-0332-JCM-GW F


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of $ 100.00                        due immediately, balance due

           G     not later than                                    , or
           G     in accordance           G    C,      G   D,   G     E, or     G F below; or
B     G    Payment to begin immediately (may be combined with                G C,       G D, or      G F below); or
C     G    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     X    Special instructions regarding the payment of criminal monetary penalties:
           Schedule of payments - Any remaining balance shall be paid during the term of supervised release at a rate of no
           less than 10% of gross income, subject to an adjustment by the probation officer based upon the ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




X     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

      Anjali Yasmin Aurora -6, Dwight Ramon Pollard-1, Ganiu Adisa Kosoko-2, Jeffrey Curtis Bigsby-3, W ayne Lamarr Ganaway-4
      2:08-cr-0332-JCM-GW F TOTAL AMOUNT RST: $1,430,396.91


G     The defendant shall pay the cost of prosecution.

G     The defendant shall pay the following court cost(s):

*GX   The defendant shall forfeit the defendant’s interest in the following property to the United States:

               "ORDER OF FORFEITURE ATTACHED"

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case
         Case2:08-cr-00332-JCM-GWF
              2:08-cr-00332-JCM-GWF Document
                                    Document 476
                                             470
                                             465                   Filed 01/28/13
                                                                   Filed 03/13/13 Page
                                                                         12/21/12  Page1 6ofof2 7



 1

 2

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 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                         )
                                                       )
11                         Plaintiff,                  )
                                                       )
12           v.                                        )   2:08-CR-332-JCM-(GWF)
                                                       )
13   ANJALI YASMIN AURORA,                             )
                                                       )
14                         Defendant.                  )

15                                      ORDER OF FORFEITURE

16          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States recover

17   from ANJALI YASMIN AURORA a criminal forfeiture money judgment in the amount of

18   $4,128,554.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title

19   18, United States Code, Sections 982(a)(2)(A) and 982(a)(2)(B); Title 18, United States Code,

20   Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); and Title 21, United States

21   Code, Section 853(p). Second Superseding Indictment, ECF No. 55; Plea Memorandum, ECF No.

22   ___.

23          DATED January  28,day
                  this ______  2013.
                                  of __________________, 2012.

24

25
                                                 UNITED STATES DISTRICT JUDGE
26
        Case
         Case2:08-cr-00332-JCM-GWF
              2:08-cr-00332-JCM-GWF Document
                                    Document 476
                                             470
                                             465                 Filed 01/28/13
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                                                                       12/21/12  Page2 7ofof2 7



 1                                      PROOF OF SERVICE

 2        I, Michelle C. Lewis, certify that the following individuals were served with copies of the

 3   Order of Forfeiture on December 21, 2012, by the below identified method of service:

 4        E-Mail/ECF

 5          Paul Riddle                                   David T. Brown
            Jason Carr                                    Brown, Brown, & Premsrirut
 6          Monique Kirtley                               520 S. Fourth Street, Second Floor
            Brenda Weksler                                Las Vegas, NV 89101
 7          Federal Public Defender                       master@brownlaw.com
            411 E. Bonneville, Suite 250                  Counsel for Jeffrey Curtis Bigsby
 8          Las Vegas, NV 89101
            ECF_Vegas@FD.ORG
 9          Counsel for Dwight Ramon Pollard

10          Osvaldo E. Fumo                               Mario D. Valencia
            Osvaldo E. Fumo, Chtd                         Law Office of Mario D. Valencia
11          1212 Casino Center Boulevard                  1055 Whitney Ranch Drive, Suite 220
            Las Vegas, NV 89104                           Henderson, NV 89014
12          ozzie@fumolaw.com                             mario_valencia@cox.net
            Counsel for Gainu Adisa Kosoko                Counsel for Wayne Lamarr Ganaway
13
            Amy Chelini                                   Bret O. Whipple
14          Law Office of Amy Chelini                     Law Office of Bret Whipple
            630 S. Seventh Street                         1100 S. Tenth Street
15          Las Vegas, NV 89101                           Las Vegas, NV 89104
            chelinilaw@hotmail.com                        whipplefed@yahoo.com
16          Counsel for Gainu Adisa Kosoko                Counsel for Anjali Yasmin Aurora

17          Beau Sterling                                 Todd M. Leventhal
            Sterling Law LLC                              Leventhal and Associates
18          228 S. 4th Street First Floor                 600 South Third Street
            Las Vegas, NV 89101                           Las Vegas, NV 89101
19          bsterling@sterlinglaw.com                     todlev@yahoo.com
            Counsel for Gainu Adisa Kosoko                Counsel for Anjali Yasmin Aurora
20

21

22
                                                          /s/Michelle C. Lewis
23                                                        MICHELLE C. LEWIS
                                                          Forfeiture Support Paralegal Specialist
24

25

26
